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  6 and SmileDirectClub, LLC
  7
                            UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9
                                     WESTERN DIVISION
 10
 11 DAWAUN LUCAS, et al., individually Case No. 2:20-cv-06059-VAP-E
     and on behalf of all others similarly
 12 situated,                                 SMILEDIRECTCLUB, INC.’S AND
 13                                           SMILEDIRECTCLUB, LLC’S
                                   Plaintiff,
                                              NOTICE OF MOTION AND
 14        v.                                 MOTION TO COMPEL
 15 SMILEDIRECTCLUB, INC. and                 ARBITRATION OF PLAINTIFFS’
                                              INDIVIDUAL CLAIMS AND STAY
 16  SMILEDIRECTCLUB,         LLC.,           THE CASE; MEMORANDUM OF
 17                          Defendants.      POINTS AND AUTHORITIES;
                                              DECLARATION OF JUSTIN
 18                                           SKINNER IN SUPPORT;
 19                                           DECLARATION OF IAN KYLE
                                              WAILES IN SUPPORT;
 20                                           [PROPOSED] ORDER
 21
                                              Judge: Honorable Virginia A. Phillips
 22                                           Courtroom: 8A, First Street Courthouse
 23                                           Hearing Date: October 19, 2020
 24                                           Time: 2:00 P.M.
 25                                           Complaint Filed: July 7, 2020
 26
 27
 28


                       NOTICE OF MOTION AND MOTION TO COMPEL ARB.
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  1               NOTICE OF MOTION AND MOTION TO COMPEL
  2                      ARBITRATION AND STAY THE CASE
  3 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  4         PLEASE TAKE NOTICE THAT, on October 19, 2020, in the Courtroom of
  5 the Honorable Virginia A. Phillips of the United States District Court for the Central
  6 District of California, Courtroom 8A, located at 350 West 1st Street, Los Angeles,
  7 California 90012 at 2:00 p.m. or as soon thereafter as the matter may be heard,
  8 Defendants SmileDirectClub, Inc. and SmileDirectClub, LLC will move this Court
  9 for an order compelling Plaintiffs to arbitrate their individual claims and stay this
 10 case pending arbitration.
 11         This motion is made on the grounds that Plaintiffs each executed binding and
 12 enforceable arbitration agreements when opening their SmileDirectClub accounts.
 13 These arbitration agreements require that threshold issues of arbitrability be
 14 addressed by an arbitrator, and thus this Motion should be granted on that basis
 15 alone. Even if this Court were to address arbitrability, however, their claims are
 16 clearly within the scope of the arbitration clause. This Court should thus compel
 17 Plaintiffs to arbitrate their individual claims and stay this action. This motion is
 18 based on this notice of motion and motion, the memorandum of points and
 19 authorities, the Declarations of Justin Skinner and Ian Kyle Wailes, Plaintiffs’
 20 Complaint and any arguments presented at the hearing on this motion.
 21                        LOCAL RULE 7-3 CERTIFICATION
 22         Undersigned counsel hereby certifies that on August 24, 2020, counsel for the
 23 Parties met and conferred regarding the subject matter of this Motion. The Parties
 24 held a phone call to discussed Defendants’ motion to compel arbitration and the
 25 arbitration agreements. The Parties were unable to reach a resolution eliminating
 26 the necessity of this Motion.
 27
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  1 DATED:       September 8, 2020      Respectfully submitted,
  2
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  1                                  INTRODUCTION
  2         Pursuant to Sections 3 and 4 of the Federal Arbitration Act (the “FAA”), 9
  3 U.S.C. §§ 3-4, SmileDirectClub, Inc. (“SDCI”) and SmileDirectClub, LLC (“SDC,
  4 LLC”) respectfully move this Court to compel individual arbitration of Plaintiffs’
  5 respective claims and to stay this action pending arbitration.1
  6         This Action comes on the heels of the recently dismissed Philip Action, this
  7 time brought by four Plaintiffs. See Philip v. SmileDirectClub, Inc., No. 20-cv-1111
  8 (C.D. Cal.) Plaintiffs, however, each agreed to binding arbitration clauses. Each
  9 created SmileDirectClub accounts online and made appointments to be evaluated at
 10 retail locations known as SmileShops to see if they were candidates for clear aligner
 11 treatment. In creating their accounts, Plaintiffs agreed to the Informed Consent
 12 Agreement, which bound them to arbitrate. The Informed Consent Agreement
 13 presented a clear and conspicuous alternative dispute resolution provision through
 14 which each Plaintiff agreed to arbitrate under the rules of the American Arbitration
 15 Association (“AAA”). (See Declaration of Justin Skinner, [“Skinner Decl.”] ¶¶ 14-
 16 17, attached as Exhibit A.) Plaintiffs Lucas, Hooper and Tasin scheduled SmileShop
 17 appointments and proceeded with their appointments. Plaintiff Smith eventually
 18 chose to request a doctor-prescribed, remote impression kit. Despite their being
 19 approved to proceed with doctor-directed clear aligner therapy or doctor-prescribed
 20 at-home impression kit, none of the Plaintiffs have yet proceeded.
 21         This Court should compel Plaintiffs to individually arbitrate their claims. As
 22 an initial matter, each agreed to arbitrate pursuant to the rules of the AAA. Under
 23 those rules, threshold issues of arbitrability—that is, whether the claims are subject
 24 to the arbitration clause—are for an arbitrator to decide. Just a few months ago, a
 25 Southern District of New York court determined the materially identical arbitration
 26 clause in a case against SDC, LLC delegated arbitrability to the arbitrator. See
 27   1
          Simultaneously herewith, Defendants have filed a motion to dismiss pursuant
    to Rule 12(b)(3) and to transfer to the Middle District of Tennessee. Defendants
 28 believe the 12(b)(3) motion should be evaluated first to ensure proper venue.

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  1 Sollinger v. SmileDirectClub, LLC, No. 19-CV-5977 (JPO), 2020 WL 774135, at *3
  2 (S.D.N.Y. Feb. 18, 2020). This Court should compel arbitration on this basis alone.
  3         Even if this Court addressed arbitrability itself, it should compel arbitration.
  4 The arbitration clause covers any dispute regarding the products and services offered
  5 by or through SmileDirectClub. Plaintiffs bring this putative class action under the
  6 Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, stemming from
  7 text messages regarding their own aligner treatments, scheduled appointments and
  8 scheduling future appointments. Plaintiffs Lucas, Hooper and Tasin all (i) scheduled
  9 an appointment at a SmileShop, (ii) attended an appointment at a SmileShop and
 10 (iii) had clear aligner treatments approved by a dentist or orthodontist whose
 11 affiliated professional dental corporation had engaged SDC, LLC to use its dental
 12 support organization services and teledentistry platform. Plaintiff Smith requested
 13 and received a doctor-prescribed impression kit to be turned into a 3D scan of his
 14 teeth and gums and subsequently be reviewed by a dentist or orthodontist licensed
 15 in his state to assist in determining whether he was a viable candidate for clear
 16 aligner therapy. Messages pertaining to appointments and aligner therapy fall
 17 squarely within a dispute concerning SmileDirectClub products and services. This
 18 Court should—even if it decides the issue of arbitrability—compel arbitration.
 19         Though Defendants contend that arbitrability is an issue reserved to the
 20 arbitrator, even if this Court evaluated arbitrability it should nevertheless compel
 21 individual arbitration of Plaintiffs’ respective claims and stay this case.
 22                                    BACKGROUND
 23 I.      The Complaint.
 24         Plaintiffs allege they received unsolicited text messages on their cell phones.
 25 (Dkt. 1 ¶¶ 8-18.) Plaintiffs contend the texts they received pertained to Defendants’
 26 “products and services.” (Id. ¶¶ 8-19.) Plaintiffs each assert one TCPA claim and
 27 seek to represent a nationwide class of persons who received a marketing message
 28 from Defendants without their consent in the last four years. (Id. ¶¶ 28, 36-42.)

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  1         Plaintiffs name SDC, Inc. and SDC, LLC as defendants. Plaintiffs state SDC,
  2 Inc. is merely a holding company, but nevertheless allege SDC, Inc. “operates and
  3 controls” SDC, LLC and that both together sent unlawful text messages. (Id. ¶ 5.)
  4 II.     Procedural History.
  5         The present case is not the first filed by Plaintiffs’ counsel. On February 3,
  6 2020, Plaintiffs’ counsel filed an identical action on behalf of an identical class,
  7 captioned Philip v. SmileDirectClub, Inc., No. 20-cv-1111-VAP-E (C.D. Cal.) (the
  8 “Philip Action”). Apparently dissatisfied with the way that action was proceeding—
  9 and rather than simply amending that complaint to add new plaintiffs—Plaintiffs’
 10 counsel dismissed the Philip Action and refiled the instant case.
 11 III.    Plaintiffs’ Accounts & Text Messages.
 12         On November 14, 2019 Plaintiff Lucas created a SmileDirectClub account
 13 online and scheduled an appointment at a SmileShop. (Skinner Decl. ¶ 19.) On June
 14 19, 2018, Plaintiff Hooper created a SmileDirectClub account online and scheduled
 15 an appointment at a SmileShop. (Id. ¶ 20.). On December 7, 2019, Plaintiff Tasin
 16 created a SmileDirectClub account and scheduled an appointment at a SmileShop.
 17 (Id. ¶ 21.) On January 14, 2018, Plaintiff Smith created a SmileDirectClub account
 18 online and scheduled an appointment at a SmileShop. (Id. ¶ 22.)
 19         The messages at issue in this case were sent by SDC, LLC. (See Declaration
 20 of Kyle Wailes [‘Wailes Decl.”] ¶ 6 attached as Exhibit B.) SDC, LLC operates and
 21 controls the account-creation process and transmits the text messages at issue. (Id.)
 22         A.     The SmileDirectClub Registration Process.
 23         A consumer must first go through SDC, LLC’s registration process before
 24 they can become a SmileDirectClub customer and take advantage of SDC, LLC’s
 25 clear aligner therapy services. (Skinner Decl. ¶ 5, 6.) Consumers can create an
 26 account directly through the website www.smiledirectclub.com, or during an in-
 27 person visit to a SmileShop, where they complete an online process. (Id. ¶ 7.)
 28 During their respective account creation processes, Plaintiffs Lucas and Tasin were

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  1 required to affirmatively check a box to agree to the Informed Consent Agreement:
  2
  3
  4   (Id. ¶¶ 8, 9.) This checkbox was not prechecked. (Id.) Plaintiffs Smith and Hooper,
  5 who created accounts earlier, were presented with a materially identical checkbox.
  6 (Id. ¶ 10) However, the box may have been pre-checked. (Id.) To proceed with
  7 account creation, the box must have either been checked or left checked. (Id. ¶ 12.)
  8         After Plaintiffs checked (or left checked) the box, they had to then select
  9 “Finish My Account” to proceed with registration. (Id. ¶ 18.) The Informed Consent
 10 Agreement is presented to users as a hyperlink that, when clicked, takes the user to
 11 another screen that displays the full text. (Id. ¶ 13) Customers have the option to
 12 read and print the agreement before checking or leaving checked the box. (Id.)
 13         B.     The Arbitration Clause.
 14         At the times Plaintiffs created their accounts, two Arbitration Clauses were in
 15 effect. The Arbitration Clause agreed to by Plaintiffs Lucas and Tasin states:
 16                AGREEMENT TO ARBITRATE -- I hereby agree that any
 17                dispute regarding the products and services offered through
 18                SmileDirectClub and/or by my affiliated dental professionals,
 19                including but not limited to medical malpractice disputes, will be
 20                resolved through final and binding arbitration before a neutral
 21                arbitrator and not by lawsuit filed in any court, except claims
 22                within the jurisdiction of Small Claims Court. I understand that
 23                I am waiving any right I might otherwise have to a trial by a jury.
 24                . . . I agree that the arbitration shall be conducted by a single,
 25                neutral arbitrator selected by the parties and shall be resolved
 26                using the rules of the American Arbitration Association.
 27   (Id., Ex. 1 at 5, Ex. 2 at 5, emphasis added.) This clause also includes an express
 28 class waiver. (Id.)

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  1         The Arbitration Clause in the Informed Consent Agreement agreed to by
  2 Plaintiffs Hooper and Smith states:
  3               AGREEMENT TO ARBITRATE - I hereby agree that any dispute
  4               regarding     the    products       and   services   offered     [b]y
  5               SmileDirectClub and/or affiliated dental professionals including
  6               but not limited to medical malpractice disputes, will be determined
  7               by submission to arbitration and not [b]y lawsuit filed in any court,
  8               except claims within the jurisdiction of Small Claims Court. . . . I
  9               agree that the arbitration shall be conducted by a single, neutral
 10               arbitrator selected by the parties and shall be resolved using the
 11               rules of the American Arbitration Association.
 12 (Id., Ex. 3 at 3, Ex. 4 at 3, emphasis added.) These clauses are identical in relevant
 13 part (except as noted below). Defendants refer to them as the “Arbitration Clause.”
 14         C.     Plaintiffs’ SmileDirectClub Orders.
 15         On June 20, 2018, November 21, 2019 and December 9, 2019, respectively,
 16 Plaintiffs Hooper, Lucas and Tasin visited local SmileShops, where they provided
 17 information about their dental and health histories and chief complaints and learned
 18 about the teledentistry platform that SDC, LLC enables for the provision of clear
 19 aligner therapy by state-licensed dentists and orthodontists to their patients. (Id. ¶
 20 28.) Their information and draft aligner treatment plans were sent to a dentist or
 21 orthodontist licensed to practice in the state of their residence for assessment,
 22 diagnosis and, if appropriate, treatment. (Id. ¶ 29.) The aligner treatment plans were
 23 approved by their respective treating dentist or orthodontist. (Id.) Plaintiff Smith
 24 scheduled an appointment at a SmileShop, but later requested and received a doctor-
 25 prescribed impression evaluation measurement kit to have his viability for treatment
 26 evaluated by a dentist or orthodontist, rather than going into a SmileShop. (Id. ¶ 31.)
 27         Plaintiffs Hooper, Lucas and Tasin did not complete the payment process for
 28 their clear aligner therapy treatment. (Id. ¶ 32.) They were thus sent text messages

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  1 by SDC, LLC concerning their existing appointments, orders (i.e., their Smile Plans,
  2 which reflect dentist or orthodontist-approved treatment plans based on the initial
  3 information collected from the patient, including their specific dental scan or
  4 impression), completing their purchases and booking new appointments when their
  5 previously-approved Smile Plans expired. (Id.) Because Plaintiff Smith did not
  6 return the impression kit, SDC, LLC sent text messages regarding scheduling a
  7 SmileShop appointment so that photographs could be obtained to create a 3D image
  8 of his teeth and gums for subsequent review by the dentist or orthodontist who would
  9 be overseeing his diagnosis and possible treatment. (Id. ¶ 37.)
 10                                      DISCUSSION
 11 I.      This Court Should Compel Arbitration.
 12         A.     Legal Standard.
 13         The FAA “reflect[s] both a liberal federal policy favoring arbitration, . . . and
 14 the fundamental principle that arbitration is a matter of contract.” AT&T Mobility
 15 LLC v. Concepcion, 563 U.S. 333, 339 (2011) (internal quotations & citations
 16 omitted).     The FAA provides a written arbitration agreement “shall be valid,
 17 irrevocable, and enforceable, save upon such grounds as exist in law or in equity for
 18 the revocation of any contract.” 9 U.S.C. § 2; Cox v. Ocean View Hotel Corp., 533
 19 F.3d 1114, 1119 (9th Cir. 2008). The Supreme Court has made it clear “as a matter
 20 of federal law, any doubts concerning the scope of arbitrable issues should be
 21 resolved in favor of arbitration . . . .” Moses H. Cone Mem’l Hosp. v. Mercury
 22 Constr. Corp., 460 U.S. 1, 24-25 (1983); IMEG Corp. v. Patel, 19-c-03990-R-AFM,
 23 2019 WL 6486044, at *4 (C.D. Cal. Aug. 9, 2019) (“The FAA requires that courts
 24 compel arbitration “unless it may be said with positive assurance that the arbitration
 25 clause is not susceptible of an interpretation that covers the asserted dispute.”)
 26 (quoting AT&T Tecs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 650 (1986)).
 27         The role of this Court in evaluating a motion to compel arbitration is “limited
 28 to determining (1) whether a valid agreement to arbitrate exists and, if it does,

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  1 (2) whether the agreement encompasses the dispute at issue.” Chiron Corp. v. Ortho
  2 Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000). If both questions are
  3 answered in the affirmative, the FAA requires that the dispute be sent to arbitration.
  4 Id.; see Roberts v. Luxottica of Am. Inc., No. 19-08960VAPJCX, 2020 WL 2213464,
  5 at *3 (C.D. Cal. Jan. 30, 2020). The party opposing arbitration bears the burden of
  6 challenging the agreement to arbitrate. See, e.g., Roberts, 2020 WL 2213464, at *3.
  7         Some courts within this District treat motions to compel arbitration as akin to
  8 motions filed under Rule 12. See, e.g., De Salles v. Cook, No. 161111DMGPJWX,
  9 2016 WL 9113995, at *4 (C.D. Cal. May 12, 2016) (collecting authority, noting that
 10 courts have looked to Rules 12(b)(1), 12(b)(3) and 12(b)(6)). Other courts have
 11 treated motions to compel arbitration as one of a type of preliminary motion not
 12 specifically enumerated under Rule 12(b). See, e.g., id.; Hernandez v. Pei Wei Asian
 13 Diner LLC, No. 817CV00679JLSJCG, 2017 WL 6888260, at *2 (C.D. Cal. Oct. 2,
 14 2017) (finding Rule 12(b)(1) an improper vehicle and instead evaluating the motion
 15 “through the lens of its separate Motion to Compel Arbitration.”); Lemberg v.
 16 LuLaRoe, LLC, No. EDCV1702102ABSHKX, 2018 WL 6927836, at *3 (C.D. Cal.
 17 Mar. 1, 2018) (finding a motion to compel arbitration “akin to a motion under Rule
 18 12,” and collecting cases highlighting a variety of approaches); cf. Green Tree Fin.
 19 Corp. v. Randolph, 531 U.S. 79, 83 (2000) (“In lieu of an answer, petitioners filed a
 20 motion to compel arbitration, to stay the action, or, in the alternative, to dismiss.”).
 21         The Ninth Circuit has not clarified whether motions to compel arbitration are
 22 appropriately filed under Rule 12 or are a sui generis preliminary motion brought
 23 under the FAA. See, e.g., Nexteer Auto. Corp. v. Korea Delphi Auto. Sys. Corp.,
 24 No. 13-15189, 2014 WL 562264, at *4 (E.D. Mich. Feb. 13, 2014) (“The court
 25 agrees with those courts finding that the issue of whether to compel arbitration is
 26 governed by the FAA itself . . .”). Defendants contend motions to compel arbitration
 27 are governed simply by Section 4 of the FAA. However, this Court need not select
 28 a specific framework as they each lead to the same result—this Court can consider

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  1 matters outside of the pleadings. This Court has evaluated motions to compel
  2 arbitration without referencing Rule 12. See, e.g., Roberts, 2020 WL 2213464, at
  3 *3; Tseng v. BMW of N. Am., LLC, No. 20-00256VAPAFMX, 2020 WL 4032305,
  4 at *2 (C.D. Cal. Apr. 15, 2020); Virginia A. Phillips & Karen L. Stevenson, Federal
  5 Civil Procedure Before Trial, California and Ninth Circuit Editions, § 16:92.
  6         B.     SDCI Can Move to Compel Arbitration Along with SDC, LLC.
  7         At the outset, Plaintiffs executed the Informed Consent Agreements with
  8 SDC, LLC.        (See Wailes Decl. ¶ 8.)        SDC, LLC operates and controls the
  9 SmileDirectClub account registration process. (Id. ¶ 7.) SDC, LLC is also the entity
 10 that sent the messages at issue. (Id. ¶ 7.) Plaintiffs’ counsel is aware of this, as it
 11 was made abundantly clear through significant briefing in the first-filed Philip
 12 Action. See Philip, No. 20-cv-1111, Dkt. 16-1, Dkt. 22 at 2. Nevertheless, Plaintiffs
 13 insist on naming SDCI as a defendant as well. SDCI is a holding company, with no
 14 offices or employees. (Wailes Decl. ¶ 6.) Whether or not Plaintiffs have a claim
 15 against SDCI (they do not), what matters for purposes of this motion is that Plaintiff
 16 alleges SDCI “operates and controls” SDC, LLC and acted jointly with SDC, LLC.
 17 (Dkt. 1 ¶ 5.) As such, SDCI can enforce the Arbitration Clause.
 18         SDCI can enforce the Arbitration Clause (and delegation provision therein)
 19 under general agency principles often applied in the arbitration context. 2 California
 20 courts allow nonsignatories to enforce arbitration agreements under basic agency
 21 principles. See, e.g., Comer v. Micor, Inc., 436 F.3d 1098, 1101 (9th Cir. 2006). A
 22 fundamental premise of this concept is “if a party could avoid the practical
 23 consequences of an agreement to arbitrate by naming nonsignatory parties as
 24 [defendants] in his complaint, . . . the effect of the rule requiring arbitration would,
 25   2
           In actuality, this Court need only determine whether SDCI can enforce the
    delegation provision alone. Once the Court makes that determination, the issue of
 26 whether SDCI can enforce the Arbitration Clause more generally becomes an issue
    for the arbitrator. See, e.g., Blanton v. Domino’s Pizza Franchising LLC, 962 F.3d
 27 842, 852 (6th Cir. June 17, 2020); see also id. at 845 n.1 (treating as conceptually
    distinct the question of whether the defendant franchisor could enforce the
 28 delegation provision of the arbitration clause).

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  1 in effect, be nullified.” Smith v. Mass. Mut. Life Ins. Co, No. 0906765MMMSSX,
  2 2010 WL 11545610, at *7 (C.D. Cal. May 25, 2010) (internal quotations & citation
  3 omitted). Myriad courts have reached the same conclusion. See Nat’l Union Fire
  4 Ins. Co. of Pitt., PA v. Konvalinka, No. 10-9355, 2011 WL 13070859, at *3 (S.D.N.Y.
  5 Mar. 17, 2011) (“Parties to contractual arbitration clauses cannot avoid arbitration
  6 by suing entities related to the counterparty to the contract.”); J.J. Ryan & Sons, Inc.
  7 v. Rhone Poulenc Textile, S.A., 863 F.2d 315, 320 (4th Cir. 1988) (“When the charges
  8 against a parent company and its subsidiary are based on the same facts and are
  9 inherently inseparable, a court may refer claims against the parent to arbitration even
 10 though the parent is not formally a party to the arbitration agreement.”); Sam Reisfeld
 11 & Son Imp. Co. v. S. A. Eteco, 530 F.2d 679, 681 (5th Cir. 1976) (“If the parent
 12 corporation was forced to try the case, the arbitration proceedings would be rendered
 13 meaningless and the federal policy in favor of arbitration effectively thwarted.”).
 14         Using agency principles, a nonsignatory can “compel arbitration under
 15 arbitration clauses signed by their corporate parents, subsidiaries, or affiliates, at
 16 least when the allegations against the nonsignatory corporation do not differ
 17 substantially from those against its signatory affiliate.” Farfan v. SSC Carmichael
 18 Operating Co, No. 18-01472-HSG, 2019 WL 415577, at *5 (N.D. Cal. Feb. 1, 2019)
 19 (internal quotations and citation omitted); Smith, 2010 WL 11545610, at *7 (same).
 20 Nonsignatory principles can enforce the arbitration agreements of subsidiaries where
 21 identical claims are brought against both. See, e.g., Hart v. Charter Commc’ns, Inc.,
 22 -- Fed. App’x. --, 2020 WL 2510762, at *2 (9th Cir. May 15, 2020) (“Charter,
 23 Spectrum’s parent company, also can enforce the agreement because Hart sued both
 24 Spectrum and Charter, bringing identical claims against them.”) (citing Boucher v.
 25 All. Title Co., 127 Cal. App. 4th 262, 269 (2005)); Smith, 2010 WL 11545610, at *8
 26 (“[T]he factual allegations underlying plaintiff’s claims against MassMutual are
 27 based on the same facts as or are inherently inseparable from plaintiff’s relationship
 28 with MML,” allowing parent to enforce arbitration clause); McLeod v. Ford Motor

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  1 Co., No. 04-1255VAPSGLX, 2005 WL 3763354, at *4 (C.D. Cal. Apr. 14, 2005)
  2 (same); Dziubla v. Cargill, Inc., 214 F. App’x 658, 659 (9th Cir. 2006) (“Dziubla
  3 treated the signatory subsidiaries and Cargill, Inc. as a single unit throughout his
  4 pleadings. Moreover, arbitration is appropriate under reverse agency law.”). 3
  5         Here, the claims against SDCI are identical to the claims against SDC, LLC.
  6 Plaintiffs claim that SDCI “operates and controls” SDC, LLC and from that point
  7 forward in the Complaint lumps the entities together and refers to both jointly as
  8 “defendants.” (See Dkt. 1 ¶¶ 5, 7-27.) SDCI can thus invoke agency principles to
  9 enforce the Arbitration Clause. It would undermine entirely the purpose of an
 10 arbitration agreement if it could be evaded simply by naming a nonsignatory parent.4
 11         C.     A Valid and Binding Agreement to Arbitrate Exists.
 12         Whether a valid agreement to arbitrate was formed is a question of state law.
 13 See Moua v. Optum Servs., Inc., 320 F. Supp. 3d 1109, 1113 (C.D. Cal. 2018). In
 14 California, the “touchstone” of contract formation turns on “[m]utual manifestation
 15 of assent . . . .” Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1175 (9th Cir. 2014)
 16 (internal quotations and citation omitted); Lefevre v. Five Star Quality Care, Inc.,
 17 No. 15-01305VAPSPX, 2019 WL 6001563, at *5 (C.D. Cal. Nov. 12, 2019) (same).5
 18         A valid agreement to arbitrate exists here. Each Plaintiff created an account
 19 after agreeing to the hyperlinked and underlined Informed Consent Agreement,
 20   3
             The application of this rule here turns on Plaintiffs’ allegations. SDCI does
      not control or operate SDC, LLC or the messages at issue. There is no agency
 21   relationship. Nevertheless, Plaintiffs’ allegations of control and joint operation of
      the messaging program are sufficient to allow SDCI to enforce the Arbitration
 22   Clause. Were the case otherwise, Plaintiffs could evade arbitration by naming a non-
      signatory holding company. See Farfan, 2019 WL 415577, at *5
 23   4
             It bears noting the Arbitration Clause applies to disputes regarding products
 24   and services offered through or by SmileDirectClub. (Skinner Decl., Ex. 1-4.) This
      breadth encompasses claims brought against nonsignatories pertaining to products
 25   and services offered through or by SmileDirectClub. (Id.)
      5
             Defendants contend California law applies to contract formation, as it is where
 26   Plaintiffs executed the agreements. Even if this Court looked to the “governmental
      interest analysis” to determine which state law applied, see Pokorny v. Quixtar, Inc.,
 27   601 F.3d 987, 994 (9th Cir. 2010), the only other available law would be Tennessee,
      where Defendants are headquartered. (See Wailes Decl. ¶¶ 4, 5.) Tennessee law is
 28   in accord. See Thompson v. Hensley, 136 S.W.3d 925, 929 (Tenn. Ct. App. 2003).

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  1 containing a clear and conspicuous arbitration clause. (See Skinner Decl. ¶¶ 8-18,
  2 24-27.) This is a “clickwrap” agreement often used to obtain mutual assent. See,
  3 e.g., Savetsky v. Pre-Paid Legal Servs., Inc., No. 14-03514, 2015 WL 604767, at *3
  4 (N.D. Cal. Feb. 12, 2015) (“[C]ourts generally find that clickwrap agreements are
  5 enforceable.”); McLellan v. Fitbit, Inc., No. 3:16-00036-JD, 2018 WL 1913832, at
  6 *2 (N.D. Cal. Jan. 24, 2018) (“Fitbit’s ToS is a classic ‘clickwrap’ agreement, a type
  7 of agreement that courts routinely find valid and enforceable because the user must
  8 affirmatively acknowledge receipt of the terms of the contract.”); Berkson v. Gogo
  9 LLC, 97 F. Supp. 3d 359, 397 (E.D.N.Y. 2015) (“[A]lmost [e]very [lower] court to
 10 consider the issue has found ‘clickwrap’ licenses, in which an online user clicks ‘I
 11 agree’ to standard form terms, enforceable.”) (internal quotations & citation omitted)
 12         The key inquiry is whether the user has sufficient notice of the agreement to
 13 constitute constructive assent. See, e.g., Lee v. Ticketmaster LLC, -- Fed. App’x. --,
 14 2020 WL 3124256, at *2 (9th Cir. June 12, 2020) (“Ticketmaster’s website provided
 15 sufficient notice for constructive assent . . . .”); Nguyen, 763 F.3d at 1176 (“Courts
 16 have also been more willing to find the requisite notice for constructive assent where
 17 the browsewrap agreement resembles a clickwrap agreement—that is, where the
 18 user is required to affirmatively acknowledge the agreement before proceeding with
 19 use of the website.”). In Lee, the Ninth Circuit found sufficient an agreement where
 20 the plaintiff clicked on a “sign in” or “place order” button, below which included
 21 language notifying the plaintiff that so clicking constituted agreement to the terms
 22 of use. Id.; see also Cooper v. Adobe Sys. Inc., No. 18-06742, 2019 WL 5102609, at
 23 *5 (N.D. Cal. Oct. 11, 2019) (“Courts have consistently enforced similar ‘clickwrap’
 24 or ‘browsewrap’ agreements formed on the Internet where the user had actual notice
 25 of the agreement or where the user was required—as Cooper was—to affirmatively
 26 acknowledge the agreement before proceeding with use of the service.”); Cordas v.
 27 Uber Techs., 228 F. Supp. 3d 985, 990 (N.D. Cal. 2017) (finding a binding agreement
 28 where the plaintiff agreed to the terms by clicking “done” to create an account).

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  1         Just a few months ago, a Southern District of New York court upheld the
  2 validity of the identical Arbitration Clause, agreed to in identical fashion as Plaintiffs
  3 did here. See Sollinger, 2020 WL 774135, at *3. As held in Sollinger, regarding the
  4 same account-creation page and checkbox, “SmileDirectClub’s website provides the
  5 requisite inquiry notice. It presents the Informed Consent Agreement as ‘clickwrap,’
  6 which refers to the assent process by which a user must click ‘I agree,’ but not
  7 necessarily view the contract to which she is assenting.” See 2020 WL 774135, at
  8 *2 (internal quotations & citation omitted). The court enforced the agreement,
  9 holding that the registration screen is uncluttered, requires a checkbox and has clear
 10 blue and underlined hyperlinks to the Informed Consent Agreement. Id. at *2-3.
 11         Plaintiffs were on clear notice of the agreement through the following screen:
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23 (Skinner Decl. ¶¶ 8-10.) 6 The screen is uncluttered and has only a few fields. The
 24 user does not have to scroll beyond what is immediately visible. Clearly shown is
 25 the checkbox and hyperlinked and blue Informed Consent Agreement.
 26   6
           The screen viewed by Plaintiff Smith had one minor difference not relevant
    here. The language next to the checkbox read “I agree to SmileDirectClub’s
 27 Informed Consent and Terms of Use,” rather than “Informed Consent and Terms &
    SmilePay Conditions.” (Skinner Decl. ¶ 11.) This distinction is not pertinent here
 28 as the Informed Consent Agreement is the only agreement at issue.

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  1         Defendants determined that Plaintiffs Lucas and Tasin were presented with an
  2 unchecked box, and checked the box next to the Informed Consent Agreement. (Id.
  3 ¶ 9.) Because of a technical issue when Plaintiffs Hooper and Smith registered, the
  4 checkbox next to the Informed Consent Agreement may have been pre-checked. (Id.
  5 ¶ 10) Even if it was pre-checked, it is irrelevant here. Both Plaintiffs had to either
  6 check the box or leave it pre-checked to complete their registration. (Id. ¶ 12.)
  7 Further, all Plaintiffs had to also select “Finish My Account” to proceed. (Id. ¶ 18);
  8 see La Force v. GoSmith, Inc., No. 17-05101, 2017 WL 9938681, at *1 (N.D. Cal.
  9 Dec. 12, 2017) (compelling arbitration with a clickwrap agreement where the box
 10 next to the terms “is checked by default and must remain checked in order for the
 11 user to complete registration.”); Lundbom v. Schwan’s Home Serv., Inc., No. 18-
 12 02187-IM, 2020 WL 2736419, at *8 (D. Or. May 26, 2020) (finding clicking on a
 13 “Complete Registration” button sufficient to agree to terms next to a pre-checked
 14 box the plaintiff did not uncheck). Indeed, a checkbox is not required at all for
 15 enforceability. See, e.g., Lee, 2020 WL 3124256, at *2 (“Ticketmaster’s website
 16 provided sufficient notice for constructive assent.”); Dohrmann v. Intuit, Inc., No.
 17 -- Fed. App’x. -- , 2020 WL 4601254, at *2 (9th Cir. Aug. 11, 2020) (same).
 18         Plaintiffs were given as much time as needed to view, review and print these
 19 terms. (Skinner Decl. ¶ 13). As found in Sollinger, “a reasonable user would be on
 20 inquiry notice of the Informed Consent agreement.” See 2020 WL 774135, at *2.
 21 The Arbitration Clause is easily located, is short, is in the same font as the rest of the
 22 agreement and is in clear, plain language. See Sollinger, 2020 WL 774135, at *3.
 23         SDC, LLC maintains an electronic file for each customer, including assent to
 24 the Informed Consent Agreement. (Skinner Decl. ¶ 23.) Plaintiff Lucas checked the
 25 box and selected “Finish My Account” on November 14, 2019 at 7:24PM. (Id. ¶¶
 26 23, 24, noting all times in UTC--7 hours ahead of Pacific time.) Plaintiff Tasin
 27 checked the box and selected “Finish My Account” on December 7, 2019 at
 28 2:03AM. (Id. ¶ 25.) Plaintiff Hooper checked (or left checked) the box and selected

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  1 “Finish My Account” on June 19, 2018 at 3:09AM. (Id. ¶ 26.) Plaintiff Smith
  2 checked (or left checked) and selected “Finish My Account” on January 14, 2018 at
  3 2:00AM. (Id. ¶ 27.)7 There was mutual assent to the Informed Consent Agreement
  4 when Plaintiffs selected “Finish My Account” with the checkbox checked.
  5         D.     Threshold Issues of Arbitrability Have Been Delegated.
  6         Before reaching the scope of the Arbitration Clause, this Court must first
  7 decide who determines whether the dispute is arbitrable. See, e.g., Worldwide Film
  8 Productions, LLC v. JPMorgan Chase Bank, N.A., No. 1910337DSFJPRX, 2020 WL
  9 2730926, at *2 (C.D. Cal. Mar. 13, 2020) (“But even these gateway issues can be
 10 submitted to an arbitrator where there is clear and unmistakable evidence that the
 11 parties intended that result.”). Under the FAA, the threshold “question of who
 12 decides arbitrability is itself a question of contract.” Henry Schein, Inc. v. Archer
 13 and White, 139 S. Ct. 524, 527 (2019). That is, the FAA “allows parties to agree by
 14 contract that an arbitrator, rather than a court, will resolve threshold arbitrability
 15 questions as well as underlying merits disputes.” Id. If the Arbitration Clause
 16 “clearly and unmistakably” provides issues of arbitrability are for the arbitrator to
 17 decide, this Court must compel arbitration. See id. at 530; Bergeron v. Monex Deposit
 18 Co., No. 17-1968JVSDFM, 2018 WL 3647017 at *2 (C.D. Cal. July 9, 2018).
 19         The Arbitration Clause states that the arbitration shall be conducted pursuant
 20 to the “the rules of the American Arbitration Association.” (Skinner Decl., Ex. 1-
 21 4.) Rule 7(a) of the AAA Rules states: “[t]he arbitrator shall have the power to rule
 22 on his or her own jurisdiction, including any objections with respect to the existence,
 23 scope, or validity of the arbitration agreement or to the arbitrability of any claim or
 24 counterclaim.”       AAA       Commercial       Arbitration    Rules     at    R-7(a),
 25 https://adr.org/sites/default/files/Commercial%20Rules.pdf (effective October 1,
 26   7
           As noted above, the language next to the checkbox varied for Plaintiff Smith
    at the time he selected “Finish My Account.” The language next to the checkbox
 27 referred to “Terms of Use,” rather than “Terms & SmilePay Conditions.” (Skinner
    Decl. ¶ 11.) That minor difference is irrelevant to this Motion, which turns on the
 28 Informed Consent Agreement.

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  1 2013); see Henry Schein, 139 S. Ct. at 528 (noting “[t]he rules of the American
  2 Arbitration Association provide that arbitrators have the power to resolve
  3 arbitrability questions.”); Blanton, 962 F.3d 842, 845 (6th Cir. 2020) (holding that
  4 incorporation of the AAA rules constitutes a clear and unmistakable delegation).
  5         The Ninth Circuit and myriad courts in this Circuit have held that the
  6 incorporation of the AAA rules constitutes a clear and unmistakable delegation of
  7 authority to the arbitrator to decide threshold questions of arbitrability, including in
  8 TCPA cases. See, e.g., Williams v. Eaze Sols., Inc., 417 F. Supp. 3d 1233, 1241 (N.D.
  9 Cal. 2019) (applying delegation through the AAA rules in a TCPA case); Brennan v.
 10 Opus Bank, 796 F.3d 1125, 1130 (9th Cir. 2015) (“[W]e hold that incorporation of
 11 the AAA rules constitutes clear and unmistakable evidence that contracting parties
 12 agreed to arbitrate arbitrability,” but reserving application to unsophisticated
 13 parties); G.G. v. Valve Corp., 799 F. App’x 557, 558 (9th Cir. 2020) (“And the
 14 teenagers clearly and unmistakably agreed to arbitrate questions of arbitrability
 15 because the arbitration agreement incorporates AAA rules.”). 8
 16         Plaintiffs may contend they are unsophisticated. Though the Ninth Circuit in
 17 Opus Bank did not address whether incorporation of the AAA rules constitutes clear
 18 and unmistakable delegation in the context of unsophisticated plaintiffs, subsequent
 19 case law makes clear it does. For example, the Ninth Circuit’s decision (albeit
 20 unpublished) in G.G. belies the relevance of the level of sophistication, as there the
 21 Ninth Circuit upheld delegation by incorporation of the AAA rules against teenagers.
 22 See 799 F. App’x at 558 (citing Brennan, 796 F.3d at 1130).9 Central District courts
 23   8
              To the extent Plaintiffs contend otherwise, there is no obligation to attach or
 24   provide the AAA rules, even to unsophisticated parties. See, e.g., Williams, 417 F.
      Supp. 3d 1233, 1241 (N.D. Cal. 2019) (“[T]here is no duty to attach the AAA rules
 25   . . . .”); Borgarding v. JPMorgan Chase Bank, No. CV162485FMORAOX, 2016
      WL 8904413, at *5 (C.D. Cal. Oct. 31, 2016) (collecting California state authority).
 26   9
              The Court in G.G. noted the sophistication of the plaintiffs did not matter
      because, under Washington law, parties to a contract are presumed to have read the
 27   agreement. See 799 F. App’x at 558. The same is true in California. See Luafau v.
      Affiliated Computer Servs., Inc., No. C 06-0347 CW, 2006 WL 1320472, at *3 (N.D.
 28   Cal. May 15, 2006) (“[A] party is presumed to have read the contract she signed.”)

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  1 have concluded the majority position is incorporation of the AAA rules constitutes a
  2 clear and unmistakable delegation, even as against unsophisticated parties. See, e.g.,
  3 Razzaghi v. UnitedHealth Grp., No. 18-01223AGJDEX, 2018 WL 7824552, at *2
  4 (C.D. Cal. Sept. 17, 2018) (“This Court agrees with those cases deciding that
  5 unsophisticated parties can agree to contracts that include terms showing a ‘clear
  6 and unmistakable’ intent to delegate arbitrability issues to an arbitrator.”);
  7 Gountoumas v. Giaran, Inc., No. 18-7720-JFW(PJWX), 2018 WL 6930761, at *6
  8 (C.D. Cal. Nov. 21, 2018) (“[T]he Court agrees with the majority view, and
  9 concludes that incorporation of AAA rules constitutes clear and unmistakable
 10 evidence that the contracting parties agreed to arbitrate arbitrability, even if one or
 11 more of the parties are unsophisticated.”); Key v. Optum Servs., Inc., No. 19-
 12 00813AGJDEX, 2019 WL 6736924, at *2 (C.D. Cal. July 29, 2019) (rejecting the
 13 unsophistication argument relating to whether incorporation of the AAA rules
 14 constitutes a clear and unmistakable delegation); Hernandez v. United HealthCare
 15 Servs., Inc., No. 18-0420DOCKESX, 2018 WL 7458649, at *5 (C.D. Cal. July 26,
 16 2018) (“This Court is unwilling to create an exception to the Opus Bank holding for
 17 unsophisticated parties, because the factors that might make someone ‘sophisticated’
 18 are poorly suited to a standard definition upon which parties can rely to avoid
 19 uncertainty or surprise in the meaning of the instrument they signed.”); Miller v.
 20 Time Warner Cable Inc., No. 816CV00329CASASX, 2016 WL 7471302, at *5 (C.D.
 21 Cal. Dec. 27, 2016) (“[T]he greater weight of authority has concluded that the
 22 holding of Opus Bank applies similarly to non-sophisticated parties).10
 23
 24
 25
      10
           In addition to the difficulties pointed out by Judge Carter in determining who
 26 constitutes an unsophisticated party for purposes of evaluating the validity of an
    arbitration and/or delegation clause, see Hernandez, 2018 WL 7458649, at *5, it
 27 would be anomalous to carve out an exception to the axiom that “[t]o decipher [the
    parties’] intent, the Court need look no further than the agreement itself.” Razzaghi,
 28 2018 WL 7824552, at *2.

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  1         Furthermore, one court just a few months ago determined the materially
  2 identical delegation clause is a clear and conspicuous delegation of the threshold
  3 issue of arbitrability as it related to claims against SDC, LLC. See Sollinger, 2020
  4 WL 774135, at *3. It would be incongruous for the viability of the delegation
  5 provision to turn on the jurisdiction evaluating it.
  6         As a final matter, to the extent Plaintiffs contend their claims are not within
  7 the Arbitration Clause to avoid delegation, that contention cannot prevail. This
  8 argument--that a dispute is not within the scope of the Arbitration Clause--is in
  9 essence the “wholly groundless” exception that the Supreme Court rejected in Henry
 10 Schein. In Henry Schein, the arbitration clause—which, incorporated the AAA
 11 rules—excepted actions seeking injunctive relief. See 139 S. Ct. at 528. The
 12 appellee contended the arbitration argument was “wholly groundless” because it
 13 sought injunctive relief and thus was excepted from arbitration. Id. The Supreme
 14 Court held that the wholly groundless exception “confuses the question of who
 15 decides arbitrability with the separate question of who prevails on arbitrability,” and
 16 “[w]hen the parties’ contract delegates the arbitrability question to an arbitrator, the
 17 courts must respect the parties’ decision as embodied in the contract.” Id. at 531.
 18         The distinction is between an arbitration clause that carves out claims from
 19 arbitration in general versus an arbitration agreement that carves out certain claims
 20 from the delegation clause. The Sixth Circuit highlighted this distinction in its
 21 Blanton decision, noting that if there is no carve out from delegation, the arbitrator
 22 must interpret the remainder of the arbitration clause. See Blanton, 962 F.3d at 848
 23 (“[T] he carveout goes to the scope of the agreement—a question that the agreement
 24 otherwise delegates to the arbitrator—not the scope of the arbitrator’s authority to
 25 decide questions of ‘arbitrability.’”). 11 Plaintiffs will be unable to point to any carve
 26 out or exception to the delegation provision itself.
 27   11
           Nor is the AAA’s Healthcare Policy a defense to the delegation provision.
    This dispute is not subject to the AAA’s Healthcare Policy because it pertains solely
 28 to healthcare cases “that relate to medical service,” like negligence and malpractice.

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  1          The Parties have delegated the threshold issue of arbitrability to the arbitrator
  2 pursuant to the Arbitration Clause and this Court should thus compel arbitration.
  3          E.     Even if This Court Were to Address Arbitrability, It Should Find
  4                 Plaintiffs’ TCPA Claim to be Arbitrable.
  5          For the reasons detailed above, this Court need not address the question of
  6 whether Plaintiffs’ claims are within the purview of the Arbitration Clause. If,
  7 however, this Court does turn to the issue of arbitrability, the dispute plainly falls
  8 within the scope of the Arbitration Clause.
  9          As a guiding principle, “any doubts concerning the scope of arbitrable issues
 10 should be resolved in favor of arbitration . . . .” Moses H. Cone Mem’l Hosp., 460
 11 U.S. at 24-25. There is a “presumption of arbitrability” that is overcome only where
 12 “it may be said with positive assurance that the arbitration clause is not susceptible
 13 of an interpretation that covers the asserted dispute.” AT & T Techs., Inc. v.
 14 Commc’ns Workers of Am., 475 U.S. 643, 650 (1986); see also Cilluffo v. Cent.
 15 Refrigerated Servs., Inc., No. 12-00886 VAP, 2012 WL 8523507, at *3 (C.D. Cal.
 16 Sept. 24, 2012) (Phillips, J.) (“The standard for demonstrating arbitrability is not
 17 high.”) (internal quotations and citation omitted). This presumption “is ‘particularly
 18 applicable’ where the arbitration clause is broad.” Robinson v. Delicious Vinyl
 19 Records, No. 13-cv-04111-CAS, 2014 WL 5332837, at *7 (C.D. Cal. Oct. 20, 2014)
 20 (quoting AT & T Techs., 475 U.S. at 650); see also Mason v. BMW Fin. Servs., No.
 21 EDCV1501323VAPDTBX, 2015 WL 12781212, at *4 (C.D. Cal. Nov. 17, 2015)
 22 (Phillips, J.) (“In order to find that the Arbitration Clause does not apply to Plaintiff’s
 23 claim, the Court must be satisfied that ‘it may be said with positive assurance that
 24 the arbitration clause is not susceptible of an interpretation that covers the asserted
 25 dispute. Doubts should be resolved in favor of coverage.’”) (quoting AT&T Techs.,
 26 Reed v. Johnson, No. 14-cv-176, 2016 WL 913232, at *4 (N.D. Miss. Mar. 9, 2016)
    (quoting Healthcare Policy Statement). This case pertains to text messages. Further,
 27 disputes ordered by a court to arbitration are excepted from the policy in any event.
    See id.; see also Life Care Centers of Am., Inc. v. Estate of Blair by & through
 28 Rhoden, No. 17-cv-0249, 2017 WL 3432209, at *15 (D.N.M. Aug. 9, 2017).

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  1 475 U.S. at 650). Further, “the party resisting arbitration bears the burden of proving
  2 that the claims at issue are unsuitable for arbitration.” Green Tree Fin. Corp.-Ala.
  3 v. Randolph, 531 U.S. 79, 91 (2000); Mason, 2015 WL 12781212, at *2 (same).
  4          The Arbitration Clause broadly covers “any dispute regarding” products and
  5 services offered through or by 12 SmileDirectClub. (Skinner Decl., Ex. 1-4, emphasis
  6 added.); see Guerrero v. Equifax Credit Info. Servs., Inc., No. 11-6555 PSG PLAX,
  7 2012 WL 7683512, at *8 (C.D. Cal. Feb. 24, 2012) (finding an arbitration clause
  8 applying to “any claim, dispute, or controversy” to be broad); Evergreen Media
  9 Holdings, LLC v. Stroock & Stroock & Lavan LLP, No. CV1501648ABVBKX, 2015
 10 WL 12765630, at *5 (C.D. Cal. Apr. 16, 2015) (finding arbitration clause covering
 11 “any dispute” related to a certain agreement to be broad) (emphasis in original);
 12 Lozada v. Progressive Leasing d/b/a Prog Leasing LLC, No. 15-2812, 2016 WL
 13 3620756, at *2 (E.D.N.Y. June 28, 2016) (“The Arbitration Provision’s reference to
 14 ‘any dispute’ is the paradigm of a broad clause . . .”) (internal citation omitted). It
 15 is critical to reiterate that “the threshold for arbitrability is not high.” Lainer v. Uber
 16 Techs., Inc., No. 1509925BROMRWX, 2016 WL 7444925, at *3 (C.D. Cal. May
 17 11, 2016) (internal quotation and citation omitted); Cilluffo, 2012 WL 8523507, at
 18 *3 (Phillips, J.) (same); see also Mason, 2015 WL 12781212, at *4 (Phillips, J.)
 19 (finding FCRA claim within a broad arbitration clause); Mason v. BMW Fin. Servs.,
 20 NA, No. EDCV1401357VAPDTBX, 2014 WL 12591299, at *4 (C.D. Cal. Sept. 18,
 21 2014) (Phillips, J.) (finding FDCPA claim within a broad arbitration clause).
 22          Plaintiffs’ claims stem from texts concerning their aligner plans, impression
 23 kits and appointments--i.e., SmileDirectClub’s products and services. (See Dkt. 1
 24 ¶¶ 9-19.) Plaintiff Lucas created his account on November 14, 2019 and scheduled
 25 an in-person appointment at a SmileShop. (Skinner Decl. ¶ 19.) Plaintiff Hooper
 26
      12
           The earlier version of the Arbitration Clause signed by Plaintiffs Hooper and
 27 Smith stated “offered by,” while the later version signed by Plaintiffs Lucas and
    Tasin stated “offered through.” (Skinner Decl., Ex. 1-4.) Defendants contend there
 28 is no material difference between “by” and “through” pertinent to this case.

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  1 created his account on June 19, 2018 and scheduled an in-person appointment at a
  2 SmileShop. (Id. ¶ 20.) Plaintiff Tasin created his account on December 7, 2019 and
  3 scheduled an in-person appointment at a SmileShop. (Id. ¶ 21.) Plaintiff Smith
  4 created an account on January 14, 2018 and, though initially scheduled an
  5 appointment, eventually requested a doctor-prescribed impression kit. (Id. ¶ 22, 31.)
  6         At Plaintiffs Lucas’s, Hooper’s and Tasin’s subsequent appointments, they
  7 initiated the process to obtain their clear aligner treatment plans. (Id. ¶ 28.) Their
  8 information and draft treatment plans were sent to a dentist or orthodontist licensed
  9 to practice dentistry in the state of their residences for assessment, diagnosis and, if
 10 appropriate, treatment. (Id. ¶ 29.) Plaintiff Lucas’s aligner treatment plan was
 11 approved by his treating dentist or orthodontist on November 22, 2019, Plaintiff
 12 Hooper’s plan was approved by his treating dentist or orthodontist on June 20, 2018,
 13 and Plaintiff Tasin’s plan was approved by his treating dentist or orthodontist on
 14 December 13, 2019. (Id. ¶ 30.) Plaintiff Smith requested a doctor-prescribed
 15 impression kit, and received it on or about January 15, 2018, but did not return it to
 16 have his viability for treatment evaluated by a dentist or orthodontist. (Id. ¶ 31.)
 17         Plaintiffs Lucas, Hooper and Tasin attended their appointments, but did not
 18 complete their payments to receive their aligner therapy. (Id. ¶ 32.) They were thus
 19 sent messages by SDC, LLC concerning appointments, completing their scans/kits
 20 and their purchases, approval of their treatment plans and scheduling appointments
 21 once Smile Plans expired without payment. (Id. ¶ 32-36) Plaintiff Smith did not
 22 return the doctor-prescribed impression kit, and thus messages were sent by SDC,
 23 LLC concerning opportunities to make an appointment. (Id. ¶ 37.) These are the
 24 messages that form the basis of Plaintiffs’ claims. (See Dkt. 1 ¶¶ 8-19.) Plaintiffs’
 25 claims thus focus entirely on SmileDirectClub’s “products and services offered”—
 26 specifically, SDC, LLC’s outreach to Plaintiffs to attend appointments, receive their
 27 aligner plans or complete scans or impressions. Plaintiffs specifically allege that the
 28 messages at issue pertained to SmileDirectClub’s offered “products and services.”

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  1 (Dkt. 1 ¶ 19.) If Plaintiffs did not open their accounts and seek out and initiate the
  2 evaluation for clear aligner therapy, they would not have received text messages
  3 concerning their plans, orders, impressions or appointments. (Skinner Decl. ¶ 38.)
  4         In analogous situations, courts have found TCPA claims within the scope of
  5 the arbitration clause. For example, in Lainer v. Uber, Judge O’Connell evaluated
  6 a motion to compel arbitration over alleged driver recruitment text messages in
  7 violation of the TCPA. See No. CV1509925BROMRWX, 2016 WL 7444925, at *1
  8 (C.D. Cal. May 11, 2016). The plaintiff had agreed to Uber’s arbitration clause,
  9 which covered “any dispute, claim or controversy arising out of or relating to these
 10 Terms or the breach, termination, enforcement, interpretation or validity thereof or
 11 the use of the Services . . . .” Id. The plaintiff argued that she signed up for Uber’s
 12 services, but not to be a driver, and thus the messages were outside the scope of the
 13 clause. Judge O’Connell determined that the dispute was covered by the clause, in
 14 part because the messages in fact related to Uber’s transportation services. Id. at *4.
 15         In Sherman v. RMH, a Southern District of California court evaluated a motion
 16 to compel arbitration of a TCPA claim stemming from a marketing call following
 17 up on the one year anniversary of the plaintiff’s car purchase. See No. 13CV1986-
 18 WQH-WMC, 2014 WL 30318, at *1 (S.D. Cal. Jan. 2, 2014). The arbitration clause
 19 covered “[a]ny claim or dispute . . . , which arise out of or relate to your credit
 20 application, purchase or condition of this vehicle, this contract or any resulting
 21 transaction or relationship . . . .” Id. at *2. The Court readily concluded that the
 22 prerecorded call on the anniversary of the plaintiff’s purchase “relate to his Contract
 23 with Defendant, and, accordingly, [the claims] are subject to arbitration.” Id. at *9.
 24         In Thomas v. Wells Fargo Dealer Services, Judge Klausner evaluated a
 25 motion to compel arbitration of a TCPA action regarding debt calls pertaining to an
 26 installment sales contract. See No. CV135168RGKPJWX, 2013 WL 12114768, at
 27 *1 (C.D. Cal. Oct. 1, 2013). The arbitration clause covered disputes arising out of
 28 or relating to the credit application. Id. at *2. The Court thus concluded that “the

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  1 dispute is clearly one that ‘arises out of or relates to [the] credit application’” Id.;
  2 see also Wishner v. Wells Fargo Bank, No. CV-16-2832-MWF-SKX, 2016 WL
  3 10988765, at *2-3 (C.D. Cal. Sept. 28, 2016) (finding TCPA suit over debt-related
  4 calls encompassed by arbitration clause that covered “any dispute relating in any
  5 way to the Card or related services or matters described in the Agreement . . . .”).
  6         And, in Augustine v. TLC Resorts Vacation Club, a Southern District of
  7 California court evaluated a motion to compel arbitration over debt-related calls
  8 pertaining to a timeshare membership. See No. 18-01120, 2018 WL 3913923, at *1
  9 (S.D. Cal. Aug. 16, 2018). The arbitration clause covered “all disputes and claims
 10 between us that can’t otherwise be resolved through customer service.” Id. at *2.
 11 The plaintiff claimed the TCPA claims did not touch matters of contract or purchase
 12 of timeshares. Id. at *8. The Court nevertheless held that “[g]iven the circumstances
 13 of this case and the plain, broad language of the arbitration provision, as well as the
 14 strong presumption in favor of arbitration, the Court concludes that Plaintiff’s claims
 15 fall within the scope of the arbitration provision.” Id.
 16         Myriad other courts have similarly found TCPA claims within the scope of an
 17 arbitration clause. See, e.g., Lozada, 2016 WL 3620756, at *3 (finding TCPA claim
 18 within scope of lease’s arbitration clause); see also id. (collecting cases finding
 19 TCPA claims arbitrable); Kellison v. First Premier Bank, No. CV 17-02318 SJO
 20 (KK), 2018 WL 5880614, at *3 (C.D. Cal. Mar. 5, 2018) (“Plaintiff’s claims arise
 21 from Defendants’ attempts to collect its debts pursuant to the Cardholder Agreement,
 22 the Court finds that the claims fall within the scope of those considered in the
 23 arbitration agreement.”); Hunter v. First Nat’l Bank of Omaha, NA, No. 15-CV-808-
 24 H-NLS, 2015 WL 12672151, at *4 (S.D. Cal. July 31, 2015) (finding TCPA claim
 25 stemming from debt calls arbitrable under clause applying to claims arising from or
 26 relating to the account); Lemieux v. HSBC Card Servs., Inc., No. 07-CV-1581-H
 27 (BLM), 2007 WL 9776742, at *4 (S.D. Cal. Dec. 13, 2007) (same); Coppock v.
 28 Citigroup, Inc., No. 11-1984, 2013 WL 1192632, at *5 (W.D. Wash. Mar. 22, 2013)

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  1 (“The arbitration agreement clearly covers the TCPA and FDCPA claims. Citi made
  2 the calls to collect a debt it thought Coppock owed on her credit card account.”);
  3 Malik v. F-19 Holdings, No. 15-130, 2016 WL 2939150, at *3-4 (E.D. Ky. May 19,
  4 2016) (holding an arbitration clause in a gym membership agreement covered text
  5 messaging urging the plaintiff to buy goods and services because the clause covered
  6 “any dispute” that “arises on an interpretation of the rights, duties and obligations”
  7 under the agreement”); Moore v. T-Mobile USA, No. 10-527, 2012 WL 13036858,
  8 at *7 (E.D.N.Y. Sept. 28, 2012) (finding TCPA claims relating to attempts to resolve
  9 billing dispute within arbitration clause); Kilberg v. Discover Fin. Servs., No. 16-
 10 5168, 2017 WL 3528005, at *4 (D.N.J. Aug. 16, 2017) (“[A] TCPA claim naturally
 11 arises from and is related to Plaintiff’s Credit Card Account because it involved
 12 autodialed telephone calls to Plaintiff concerning the outstanding balance . . . .”).
 13         Much like the calls and messages at issue in Lainer, Sherman, Thomas and
 14 Augustine, there can be little doubt the text messages at issue here--which concerned
 15 Plaintiffs’ appointments, aligner scans, kits, treatment plans, completing their
 16 purchases and booking new appointments following the expiration of their Smile
 17 Plan or the failure to return a kit--fall within the language “any dispute regarding the
 18 products and services” offered through or by SmileDirectClub. (Skinner Decl. ¶¶
 19 32-37.) The aligner treatments, treatment plans, scans, impressions and
 20 appointments about which SDC, LLC contacted Plaintiffs are the products and
 21 services offered through SmileDirectClub. This conclusion is all the more warranted
 22 in light of the axiom that “as a matter of federal law, any doubts concerning the scope
 23 of arbitrable issues should be resolved in favor of arbitration . . . .” Moses H. Cone,
 24 460 U.S. at 24–25.
 25         Plaintiffs may claim their claims are carved out because the Arbitration Clause
 26 excepts “claims within the jurisdiction of Small Claims Court.” (Skinner Decl., Ex.
 27 1-4.) Plaintiffs, however, filed a class action in federal court, seeking up to $1,500
 28 per text and believe there are “thousands” of class members. (Dkt. 1 ¶¶ 28, 36.); see,

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  1 e.g., Gadomski v. Wells Fargo Bank N.A., 281 F. Supp. 3d 1015, 1021 (E.D. Cal.
  2 2018) (“[T]he flaw in Plaintiff’s logic is that neither she nor the other similarly
  3 situated class members are moving forward as individuals. . . . Surely, Plaintiff was
  4 free to assert her claims on a strictly individual basis in small claims court. However,
  5 that is not what she chose to do.”); Botorff v. Amerco, No. 12-01286, 2012 WL
  6 6628952, at *6 (E.D. Cal. Dec. 19, 2012) (same); Reeners v. Verizon Commc’ns, No.
  7 11-0573, 2011 WL 2791262, at *2 (M.D. Tenn. July 14, 2011) (finding a class action
  8 “does not fit within the scope of the small claims court exception to arbitration.”);
  9 Lewis v. Advance Am., Cash Advance Centers of Illinois, No. 13-cv-942, 2014 WL
 10 47125, at *4 (S.D. Ill. Jan. 6, 2014) (“[T]he fact remains that he did not bring this
 11 case in a small claims court.”). Whether Plaintiffs could file individual claims in
 12 small claims court, they cannot use this hypothetical to evade arbitration.
 13         As a final matter, Plaintiffs should be compelled to arbitrate their claims
 14 individually for two reasons. First, the Arbitration Clause agreed to by Plaintiffs
 15 Lucas and Tasin specifically state that arbitration “will take place on an individual
 16 basis” and that “class arbitrations . . . are not permitted . . . .” (Skinner Decl., Ex. 1
 17 at 5, Ex. 2 at 5.)13 Second, though the clause agreed to by Plaintiffs Hooper and
 18 Smith do not contain this specific language, the Supreme Court holds that “a court
 19 may not compel arbitration on a classwide basis when an agreement is ‘silent’ on the
 20 availability of such arbitration,” or even ambiguous on the issue. Lamps Plus, Inc.
 21 v. Varela, 139 S. Ct. 1407, 1412 (2019) (quoting Stolt-Nielsen S.A. v. AnimalFeeds
 22 Int’l Corp., 559 U.S. 662, 684 (2010)); see also id. at 1419 (“Courts may not infer
 23 from an ambiguous agreement that parties have consented to arbitrate on a classwide
 24 basis.”); Cervantes v. Voortman Cookies Ltd., No. 3:19-CV-00700-H-BGS, 2019
 25 WL 3413419, at *7 (S.D. Cal. July 29, 2019) (“[T]here is no affirmative contractual
 26
 27   13
         This Clause also bars class actions generally. Should this case proceed,
 28 Defendants intend to raise this class waiver argument.

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  1 basis for concluding that the parties agreed to class-wide arbitration.”). 14 The clause
  2 agreed to by Plaintiffs Hooper and Smith thus also does not permit class arbitration.
  3          Plaintiffs’ TCPA claims fall within the scope of the Arbitration Clause and
  4 this Court should thus compel individual arbitration of Plaintiffs’ respective claims.
  5          F.     This Court Should Stay This Action Pending Arbitration.
  6          The FAA provides that this Court “upon being satisfied that the issue involved
  7 in such suit or proceeding is referable to arbitration . . . , shall on application of one
  8 of the parties stay the trial of the action until such arbitration has been had . . . .” 9
  9 U.S.C. § 3. Staying a matter pending arbitration is appropriate “[b]ecause the FAA
 10 requires the stay of judicial proceedings pending the arbitration of claims” and “the
 11 Petition requests this relief . . . .” Spanos v. Kaiser Found. Health Plan, No.
 12 EDCV1900097JAKSPX, 2019 WL 7945608, at *4 (C.D. Cal. Sept. 25, 2019);
 13 Roberts, 2020 WL 2213464, at *5 (staying case). A stay is particularly prudent
 14 where arbitrability is delegated. See, e.g., Gonzalez v. Coverall N. Am., Inc., No. 16-
 15 cv-2287JGBKKX, 2017 WL 4676576, at *6 (C.D. Cal. Apr. 13, 2017) (staying
 16 action); High-Bassalik v. Al Jazeera Am., No. 215CV04427CASFFMX, 2015 WL
 17 9695227, at *8 (C.D. Cal. Nov. 2, 2015) (same). Because the threshold issue of
 18 arbitrability was delegated (and even if this Court were to reach arbitrability), this
 19 Court should compel arbitration and stay this matter.
 20                                      CONCLUSION
 21          For the foregoing reasons, SDCI and SDC, LLC respectfully request that this
 22 Court (i) compel individual arbitration of Plaintiffs’ respective claims and stay this
 23 case pending arbitration; and (ii) award all other relief it deems equitable and just.
 24 Dated: September 8, 2020                   By:    /s/ Mark S. Eisen
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      14
            The Court in Lamps Plus did not determine whether the class arbitration issue
 26 is an issue for an arbitrator to decide. Courts in this Circuit hold it is an issue for the
    court, absent clear evidence the particular question is delegated. See Cervantes,
 27 2019 WL 3413419, at *6-7; Dominguez v. Stone Brewing Co., LLC, No. 20-CV-
    251-WQH-BLM, 2020 WL 3606396, at *12 (S.D. Cal. July 2, 2020). To the extent
 28 this Court addresses the issue, arbitration must take place on an individual basis.

                                                 25
                  MEMO. OF PTS. AND AUTHORITIES IN SUPP. OF MOTION TO COMPEL ARB.
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